              Case 23-13782-SLM                   Doc 1      Filed 05/02/23 Entered 05/02/23 14:56:55                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter       7
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Estela Guerrero DDS as successor of Passaic Family Dental, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  218 Autumn Street 2nd Floor
                                  Passaic, NJ 07055
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Passaic                                                         Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  218 Autumn Street Passaic, NJ 07055
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Estela Guerrero DDS as successor of Passaic Family                                        Case number (if known)
          Dental, LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                        Chapter 9
     A debtor who is a “small           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                  Relationship
                                                 District                                 When                           Case number, if known

Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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         Dental, LLC
         Name




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Debtor   Estela Guerrero DDS as successor of Passaic Family                                      Case number (if known)
         Dental, LLC
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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Debtor    Estela Guerrero DDS as successor of Passaic Family                                       Case number (if known)
          Dental, LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 2, 2023
                                                  MM / DD / YYYY


                             X   /s/ Estela Guerrero                                                      Estela Guerrero
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Sole member




18. Signature of attorney    X   /s/ Tomas Espinosa                                                        Date May 2, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Tomas Espinosa 025691985
                                 Printed name

                                 Tomas Espinosa, Esq.
                                 Firm name

                                 8324 Kennedy Blvd.
                                 2nd Floor
                                 North Bergen, NJ 07047
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     201.223.1803                  Email address      te@lawespinosa.com

                                 025691985 NJ
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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 Fill in this information to identify the case:

 Debtor name         Estela Guerrero DDS as successor of Passaic Family Dental, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 2, 2023                             X /s/ Estela Guerrero
                                                                       Signature of individual signing on behalf of debtor

                                                                       Estela Guerrero
                                                                       Printed name

                                                                       Sole member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Estela Guerrero DDS as successor of Passaic Family Dental, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $            51,312.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $            51,312.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $            19,610.73

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$          687,227.12


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $             706,837.85




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name          Estela Guerrero DDS as successor of Passaic Family Dental, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest
 2.         Cash on hand                                                                                                                                    $0.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Chase JP Morgan Chase Bank NA                          Checking                         9788                                        $987.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                       $987.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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                Dental, LLC
                Name


           11a. 90 days old or less:                                 10,000.00   -                                   0.00 = ....                 $10,000.00
                                              face amount                               doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                  $10,000.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                       Net book value of         Valuation method used   Current value of
                                                                                     debtor's interest         for current value       debtor's interest
                                                                                     (Where available)

 39.       Office furniture
           Used office furniture 6 chairs                                                           $0.00      N/A                                   $200.00


           Office chairs                                                                            $0.00                                            $500.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           1 TV
           1 Printer
           3 landline phones
           2 Computers                                                                              $0.00                                          $2,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 2
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 Debtor         Estela Guerrero DDS as successor of Passaic Family                            Case number (If known)
                Dental, LLC
                Name


 43.       Total of Part 7.                                                                                                             $2,700.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           1 Xray machine
           1 Stand machine
           1 Composite cure light
           1 Sterilizer
           1 bathroom mirror
           1 Microwave
           1 refrigerator
           3 garbage cans
           1 cast stone holder
           1 Dentist chair
           1 patient chair
           1 extra oral machine                                                             $0.00                                      $37,625.00




 51.       Total of Part 8.                                                                                                        $37,625.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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                Dental, LLC
                Name


     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 4
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 Debtor          Estela Guerrero DDS as successor of Passaic Family                                                  Case number (If known)
                 Dental, LLC
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $987.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $10,000.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $2,700.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $37,625.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $51,312.00          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $51,312.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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 Fill in this information to identify the case:

 Debtor name         Estela Guerrero DDS as successor of Passaic Family Dental, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                     page 1 of 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
            Case 23-13782-SLM                          Doc 1          Filed 05/02/23 Entered 05/02/23 14:56:55                                    Desc Main
                                                                     Document      Page 14 of 33
 Fill in this information to identify the case:

 Debtor name         Estela Guerrero DDS as successor of Passaic Family Dental, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                             Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $19,519.27         $0.00
           IRS                                                       Check all that apply.
           P.O. Box 7346                                              Contingent
           Philadelphia, PA 19101                                     Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                             $91.46        $91.46
           State of New Jersey                                       Check all that apply.
           Division of Employer Accounts                              Contingent
           P. O. Box 059                                              Unliquidated
           Trenton, NJ 08646-0059                                     Disputed
           Date or dates debt was incurred                           Basis for the claim:
           12/31/2020                                                Division of labor
           Last 4 digits of account number 8318                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 4
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            Case 23-13782-SLM                          Doc 1          Filed 05/02/23 Entered 05/02/23 14:56:55                                     Desc Main
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              Estela Guerrero DDS as successor of Passaic Family
 Debtor       Dental, LLC                                                                             Case number (if known)
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $133.28
          AGL Inhalation Therapy Co.                                          Contingent
          600 Route 46 West                                                   Unliquidated
          Clifton, NJ 07015
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Oxygen and Hazardous Materials.
          Last 4 digits of account number       0105
                                                                             Is the claim subject to offset?    No  Yes
 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,406.45
          American Express Business                                           Contingent
          P. O. Box 1270                                                      Unliquidated
          Newark, NJ 07101-1270
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    credit card purchases
          Last 4 digits of account number       3004
                                                                             Is the claim subject to offset?    No  Yes
 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,961.06
          Business Gold Rewards                                               Contingent
          American Express                                                    Unliquidated
          P.O. Box 1270
                                                                              Disputed
          Newark, NJ 07101
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card Purchases
          Last 4 digits of account number       3004                         Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,000.00
          BWS Solutions, LLC                                                  Contingent
          9980 South 300 West                                                 Unliquidated
          Suite 200
                                                                              Disputed
          Sandy, UT 84070
          Date(s) debt was incurred
                                                                             Basis for the claim:    Service Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,999.79
          Chase Credit Card N.A.                                              Contingent
          JP Morgan Chase                                                     Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       7857                         Basis for the claim:    Credit Card Purchases
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Geraldo Polanco, Jr. Dr.                                            Contingent
          26 West 184th Street                                                Unliquidated
          1st Floor
                                                                              Disputed
          Bronx, NY 10468
          Date(s) debt was incurred
                                                                             Basis for the claim:    Any claims arising from implant's patients
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $60,000.00
          Geraldo Polanco, Sr.                                                Contingent
          26 West 184th Street                                                Unliquidated
          1st Floor
                                                                              Disputed
          Bronx, NY 10468
          Date(s) debt was incurred
                                                                             Basis for the claim:    invested in the dental business
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 4
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              Estela Guerrero DDS as successor of Passaic Family
 Debtor       Dental, LLC                                                                             Case number (if known)
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $92.00
          NJ Department of Treasury                                           Contingent
          Division of Revenue                                                 Unliquidated
          P.O. Box 417
                                                                              Disputed
          Trenton, NJ 08646
          Date(s) debt was incurred 12/4/2022
                                                                             Basis for the claim:    Renewal Fee for XRay Compliance
          Last 4 digits of account number 6900                               Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $630.00
          Optimum                                                             Contingent
          P. O Box 70340                                                      Unliquidated
          Philadelphia, PA 19176
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Internet and telephone
          Last 4 digits of account number       1010
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $50.00
          Passaic City                                                        Contingent
          Fire Prevention Bureau                                              Unliquidated
          330 Passaic Street
                                                                              Disputed
          Passaic, NJ 07055
          Date(s) debt was incurred
                                                                             Basis for the claim:    Block/lot 2180/9
          Last 4 digits of account number       3776                         Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,380.00
          Passaic Kids Realty, LLC                                            Contingent
          9 Deer Trail Ct.                                                    Unliquidated
          Ringwood, NJ
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    rental December 2022 to April 2023
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,472.87
          PSE&G                                                               Contingent
          80 Park Plaza                                                       Unliquidated
          P.O. Box 14444
                                                                              Disputed
          New Brunswick, NJ 08906
                                                                             Basis for the claim: Utility bills
          Date(s) debt was incurred
                                                                             Estela Guerrero DDS, LLC
          Last 4 digits of account number       5404
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $490,000.00
          SMS Financial Recovery Service                                      Contingent
          c/o Adam S. Rosengard, Esq.                                         Unliquidated
          Eisenberg, Gold & Agrawal, PC
                                                                              Disputed
          1040 N. Kings Highway, Suite 200
          Cherry Hill, NJ 08034                                              Basis for the claim: SMS Financial Recovery Services, LLC v. Passaic

          Date(s) debt was incurred
                                                                             Family Dental, LLC, Estela Guerrero, DDS, LLC as sucessor in
                                                                             interest to Passaic Fimily Dental, LLC
          Last 4 digits of account number       7522                         Judgement J-127460-15
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 4
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              Estela Guerrero DDS as successor of Passaic Family
 Debtor       Dental, LLC                                                                             Case number (if known)
              Name

 3.14      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $101.67
           The Hanover Insurance Company                                      Contingent
           P.O. Box 580045                                                    Unliquidated
           Charlotte, NC 28258
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance for Estela Guerrero DDS, LLC
           Last 4 digits of account number      8001
                                                                             Is the claim subject to offset?     No  Yes
 3.15      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $70,000.00
           US Small Business Administration                                   Contingent
           2719 North Air Fresno Drive                                        Unliquidated
           Suite 107
                                                                              Disputed
           Fresno, CA 93727-1547
           Date(s) debt was incurred
                                                                             Basis for the claim:    Disaster Covid-19 Economic Injury
           Last 4 digits of account number      8001                         Is the claim subject to offset?     No  Yes
 3.16      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $16,000.00
           Visa Ink                                                           Contingent
           P. O. Box 6294                                                     Unliquidated
           Carol Stream, IL 60197
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card purchases
           Last 4 digits of account number      7857
                                                                             Is the claim subject to offset?     No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Passaic Kids Realty, LLC
           913 Main Avenue                                                                            Line      3.11
           Passaic, NJ 07055
                                                                                                            Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                           Total of claim amounts
 5a. Total claims from Part 1                                                                             5a.          $                     19,610.73
 5b. Total claims from Part 2                                                                             5b.    +     $                    687,227.12

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                  5c.          $                       706,837.85




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 4
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            Case 23-13782-SLM                          Doc 1          Filed 05/02/23 Entered 05/02/23 14:56:55                     Desc Main
                                                                     Document      Page 18 of 33
 Fill in this information to identify the case:

 Debtor name         Estela Guerrero DDS as successor of Passaic Family Dental, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.         State what the contract or                  Office lease from
              lease is for and the nature of              12/25/2019 for 10 year
              the debtor's interest                       lease ending om
                                                          12/25/2029
                  State the term remaining                6 years
                                                                                       Passaic Kids Realty, LLC
              List the contract number of any                                          9 Deer Trail Ct.
                    government contract                                                Ringwood, NJ




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
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            Case 23-13782-SLM                          Doc 1          Filed 05/02/23 Entered 05/02/23 14:56:55                 Desc Main
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 Fill in this information to identify the case:

 Debtor name         Estela Guerrero DDS as successor of Passaic Family Dental, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                       Name                       Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                      State      Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                      State      Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                      State      Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                      State      Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                  Page 1 of 1
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            Case 23-13782-SLM                          Doc 1          Filed 05/02/23 Entered 05/02/23 14:56:55                             Desc Main
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 Fill in this information to identify the case:

 Debtor name         Estela Guerrero DDS as successor of Passaic Family Dental, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                          Operating a business                                $126,401.00
       From 1/01/2022 to 12/31/2022
                                                                                                Other


       For year before that:                                                                    Operating a business                                 $68,471.00
       From 1/01/2021 to 12/31/2021
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
              Case 23-13782-SLM                        Doc 1          Filed 05/02/23 Entered 05/02/23 14:56:55                                Desc Main
                                                                     Document      Page 21 of 33
 Debtor       Estela Guerrero DDS as successor of Passaic Family                                        Case number (if known)
              Dental, LLC

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                              Describe of the Property                                       Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    SMS Financial Recovery                           Contract                   Superior Court of New                       Pending
               Services, LLC                                    Judgement for              Jersey                                      On appeal
               v                                                $488,049.76                71 Hamilton Street                            Concluded
               Passaic Family Dental, LLC;                      entered on                 Paterson, NJ 07505
               Estela Guerrero DDS, LLC as                      02/03/2023
               sucessor in interest to
               Passaic Family Dental, LLC
               PAS-L-2975-22 - J 127460-15

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                Dates given                               Value


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2
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            Case 23-13782-SLM                          Doc 1          Filed 05/02/23 Entered 05/02/23 14:56:55                              Desc Main
                                                                     Document      Page 22 of 33
 Debtor        Estela Guerrero DDS as successor of Passaic Family                                          Case number (if known)
               Dental, LLC

 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss       Value of property
       how the loss occurred                                                                                                                                lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.1.    Tomas Espinosa, Esq.
                8324 Kennedy Blvd.
                2nd Floor
                North Bergen, NJ 07047                               Attorney Fees                                             03/12/2023             $1,835.00

                Email or website address
                te@lawespinosa.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                  Dates transfers         Total amount or
                                                                                                                        were made                        value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                           Description of property transferred or                     Date transfer        Total amount or
               Address                                          payments received or debts paid in exchange                was made                      value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply

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             Dental, LLC

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

       No.
           Yes. State the nature of the information collected and retained.

                  Patients' records that doctor uses and has to maintain per law and
                  HIPPA regulations
                  Does the debtor have a privacy policy about that information?
                   No
                   Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was              Last balance
                Address                                         account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                        Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

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             Dental, LLC



       None
       Facility name and address                                      Names of anyone with                Description of the contents                   Do you still
                                                                      access to it                                                                      have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

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             Dental, LLC

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Luis Rodriguez CPA, PLLC
                    532 City Island Avenue
                    Bronx, NY 10464

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Estela D. Guerrero                             266 Fort Lee Road                                   solemember                            100%
                                                      Teaneck, NJ 07666



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
       Yes. Identify below.


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             Dental, LLC

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         May 2, 2023

 /s/ Estela Guerrero                                                     Estela Guerrero
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         Sole member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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                                                               United States Bankruptcy Court
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                                                                Debtor(s)                                     Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                 $                     3,335.00
              Prior to the filing of this statement I have received                                       $                     1,835.00
              Balance Due                                                                                 $                     1,500.00

2.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

3.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 2, 2023                                                                  /s/ Tomas Espinosa
     Date                                                                         Tomas Espinosa 025691985
                                                                                  Signature of Attorney
                                                                                  Tomas Espinosa, Esq.
                                                                                  8324 Kennedy Blvd.
                                                                                  2nd Floor
                                                                                  North Bergen, NJ 07047
                                                                                  201.223.1803 Fax: 201.223.1893
                                                                                  te@lawespinosa.com
                                                                                  Name of law firm




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                                               VERIFICATION OF CREDITOR MATRIX


I, the Sole member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       May 2, 2023                                                 /s/ Estela Guerrero
                                                                         Estela Guerrero/Sole member
                                                                         Signer/Title




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                        AGL Inhalation Therapy Co.
                        600 Route 46 West
                        Clifton, NJ 07015


                        American Express Business
                        P. O. Box 1270
                        Newark, NJ 07101-1270


                        Business Gold Rewards
                        American Express
                        P.O. Box 1270
                        Newark, NJ 07101


                        BWS Solutions, LLC
                        9980 South 300 West
                        Suite 200
                        Sandy, UT 84070


                        Chase Credit Card N.A.
                        JP Morgan Chase


                        Geraldo Polanco, Jr. Dr.
                        26 West 184th Street
                        1st Floor
                        Bronx, NY 10468


                        Geraldo Polanco, Sr.
                        26 West 184th Street
                        1st Floor
                        Bronx, NY 10468


                        IRS
                        P.O. Box 7346
                        Philadelphia, PA 19101


                        NJ Department of Treasury
                        Division of Revenue
                        P.O. Box 417
                        Trenton, NJ 08646


                        Optimum
                        P. O Box 70340
                        Philadelphia, PA 19176
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                    Passaic City
                    Fire Prevention Bureau
                    330 Passaic Street
                    Passaic, NJ 07055


                    Passaic Kids Realty, LLC
                    913 Main Avenue
                    Passaic, NJ 07055


                    Passaic Kids Realty, LLC
                    9 Deer Trail Ct.
                    Ringwood, NJ


                    PSE&G
                    80 Park Plaza
                    P.O. Box 14444
                    New Brunswick, NJ 08906


                    SMS Financial Recovery Service
                    c/o Adam S. Rosengard, Esq.
                    Eisenberg, Gold & Agrawal, PC
                    1040 N. Kings Highway, Suite 200
                    Cherry Hill, NJ 08034


                    State of New Jersey
                    Division of Employer Accounts
                    P. O. Box 059
                    Trenton, NJ 08646-0059


                    The Hanover Insurance Company
                    P.O. Box 580045
                    Charlotte, NC 28258


                    US Small Business Administration
                    2719 North Air Fresno Drive
                    Suite 107
                    Fresno, CA 93727-1547


                    Visa Ink
                    P. O. Box 6294
                    Carol Stream, IL 60197
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Estela Guerrero DDS as successor of Passaic Family Dental, LLC in the above
captioned action, certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that
directly or indirectly own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no
entities to report under FRBP 7007.1:
 Estela Guerrero
 218 Autumn Street
 2nd Floor
 Passaic, NJ 07055




 None [Check if applicable]




 May 2, 2023                                                           /s/ Tomas Espinosa
 Date                                                                  Tomas Espinosa 025691985
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Estela Guerrero DDS as successor of Passaic Family Dental,
                                                                                     LLC
                                                                       Tomas Espinosa, Esq.
                                                                       8324 Kennedy Blvd.
                                                                       2nd Floor
                                                                       North Bergen, NJ 07047
                                                                       201.223.1803 Fax:201.223.1893
                                                                       te@lawespinosa.com




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           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
       I, Estela Guerrero, declare under penalty of perjury that I am the Sole member of Estela Guerrero DDS as
sucessor of Passaic Family Dental, LLC,
                                      and that the following is a true and correct copy of the resolutions adopted
by the Board of Directors of said corporation at a special meeting duly called and held on the day of , 20 .

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 7 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Estela Guerrero, Sole member of this Corporation, is authorized and directed
to execute and deliver all documents necessary to perfect the filing of a chapter 7 voluntary bankruptcy case on
behalf of the corporation; and

       Be It Further Resolved, that Estela Guerrero, Sole member of this Corporation is authorized and directed to
appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

        Be It Further Resolved, that Estela Guerrero, Sole member of this Corporation is authorized and directed to
employ Tomas Espinosa 025691985, attorney and the law firm of Tomas Espinosa, Esq. to represent the corporation
in such bankruptcy case."

 Date      May 2, 2023                                                          Signed
                                                                                         Estela Guerrero




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                                                                     Resolution of Board of Directors
                                                                                    of
                                              Estela Guerrero DDS as sucessor of Passaic Family Dental, LLC




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 7 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Estela Guerrero, Sole member of this Corporation, is authorized and directed
to execute and deliver all documents necessary to perfect the filing of a chapter 7 voluntary bankruptcy case on
behalf of the corporation; and

       Be It Further Resolved, that Estela Guerrero, Sole member of this Corporation is authorized and directed to
appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

        Be It Further Resolved, that Estela Guerrero, Sole member of this Corporation is authorized and directed to
employ Tomas Espinosa 025691985, attorney and the law firm of Tomas Espinosa, Esq. to represent the corporation
in such bankruptcy case.

 Date      May 2, 2023                                                           Signed


 Date      May 2, 2023                                                           Signed




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